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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Civil Action No. 09-cv-02912-PAB-KLM

PEOPLE OF THE STATE OF COLORADO,

      Plaintiff,

v.

ROBERT RODARTE,
JAMES CISNEROS,
FRANKIE SALAZAR, and
JOSE SALAZAR,

     Defendants.
_____________________________________________________________________

                            MINUTE ORDER
_____________________________________________________________________
ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

      This matter is before the Court on Defendant Rodarte’s Second Amended Motion
for Court Appointed Counsel [Docket No. 19; Filed December 29, 2009] (the “Second
Amended Motion”).

      IT IS HEREBY ORDERED that the Second Amended Motion is GRANTED.

       IT IS FURTHER ORDERED that the Office of Federal Public Defender is appointed
to represent Defendant Rodarte in this matter. In the event that the Federal Public
Defender has a conflict, counsel from the CJA panel shall be appointed.


Dated: December 30, 2009
